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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )           4:05CR3118-2
                                         )           4:06CR3068-2
            Plaintiff,                   )
                                         )
vs.                                      )           MEMORANDUM
                                         )           AND ORDER
RODNEY L. HEROLD,                        )
                                         )
            Defendant.                   )

      The defendant is charged with a Nebraska bank robbery in 4:05CR3118. He
has entered a plea of guilty and awaits sentencing.

         More recently, he was charged with bank robbery in Illinois. That case,
4:06CR3068, has been transferred to Nebraska and assigned to me. The defendant
desires to enter a plea of guilty to that charge.

      On July 6, 2006, I consulted the lawyers and the probation officer. With their
agreement,

      IT IS ORDERED that:

      1.    These two cases shall be proceed to sentencing at the same time. The
            sentencing in 4:05CR3118 is continued until further order of the court.
            See paragraph 3 below.

      2.    On July 20, 2006, at 11:00 A.M., the defendant and counsel shall appear
            before Judge Piester for an arraignment and plea hearing in 4:06CR3068.




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    3.    Following the plea hearing described in paragraph 2, Judge Piester
          should enter an identical sentencing order scheduling sentencing for both
          4:05CR3118 and 4:06CR3068. Pursuant to that scheduling order, the
          probation officer shall prepare a revised presentence report for
          4:05CR3118 and a new presentence report for 4:06CR3068.

    4.    The time between today’s date and July 20, 2006, is excluded for Speedy
          Trial Act computation purposes regarding 4:06CR3068 in the interests
          of justice and particularly because the parties reasonably need this
          additional time to prepare their petition to enter a plea of guilty and a
          plea agreement. See 18 U.S.C. § 3161(h)(8).

    5.    My chambers shall provide Judge Piester with a copy of this
          memorandum and order and call his attention to paragraphs 2 and 3 of
          this memorandum and order. My chambers shall also provide Mr.
          Nelson with a copy of this memorandum and order.

    July 6, 2006.                          BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge




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